
66 So.3d 408 (2011)
Deangelo SHORTS, Appellant,
v.
STATE of Florida, DEPARTMENT OF REVENUE, CHILD SUPPORT ENFORCEMENT PROGRAM, Appellee.
No. 1D11-1735.
District Court of Appeal of Florida, First District.
August 4, 2011.
Deangelo Shorts, pro se, Appellant.
Pamela Jo Bondi, Attorney General, and Toni C. Bernstein, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Deangelo M. Shorts appeals a final order of paternity and administrative determination of child support. Counsel for appellee Department of Revenue has filed a confession of error, agreeing that further proceedings in the lower tribunal are necessary. Accordingly, the order on appeal is hereby vacated and the matter is remanded to the agency for further administrative proceedings, as appropriate.
REVERSED.
BENTON, C.J., ROBERTS and RAY, JJ., concur.
